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                                                Tuesday, 05 September, 2017 02:25:19 PM
                                                             Clerk, U.S. District Court, ILCD
                 UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF ILLINOIS

QUENNEL AUGUSTA,                  )
                                  )
                 Plaintiff,       )
                                  )
     v.                           )       17-CV-4035
                                  )
PEOPLE OF THE STATE OF            )
ILLINOIS, et al.,                 )
                                  )
                 Defendants.      )

                        MERIT REVIEW ORDER

      The plaintiff, proceeding pro se, and currently incarcerated in
Vandalia Correctional Center (“Vandalia”), was granted leave to
proceed in forma pauperis. The case is now before the court for a
merit review of plaintiff’s claims. The court is required by 28 U.S.C.
§ 1915A to “screen” the plaintiff’s complaint, and through such
process to identify and dismiss any legally insufficient claim, or the
entire action if warranted. A claim is legally insufficient if it “(1) is
frivolous, malicious, or fails to state a claim upon which relief may
be granted; or (2) seeks monetary relief from a defendant who is
immune from such relief.” 28 U.S.C. § 1915A.
      In reviewing the complaint, the court accepts the factual
allegations as true, liberally construing them in the plaintiff's favor.
Turley v. Rednour, 729 F.3d 645, 649 (7th Cir. 2013). However,
conclusory statements and labels are insufficient. Enough facts
must be provided to “state a claim for relief that is plausible on its
face.” Alexander v. U.S., 721 F.3d 418, 422 (7th Cir. 2013)(citation
omitted). The court has reviewed the complaint and has also held a
merit review hearing in order to give the plaintiff a chance to
personally explain his claims to the court.
      Plaintiff filed this lawsuit pursuant to 42 U.S.C. § 1983
alleging that Defendants Pepmeyer and Kerr, a States’ Attorney and
Assistant States’ Attorney, respectively, violated his constitutional
rights by issuing a warrant for his arrest rather than a summons,

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“taking [him] to trial” on one of his felony charges, and forcing him
to file motions to suppress in his criminal case. Plaintiff also claims
that the “People of the State of Illinois” violated his rights by not
checking the work of its employees.

      The prosecutors plaintiff sued are immune from suit for their
involvement in prosecuting plaintiff’s criminal charges. See Lewis
v. Mills, 677 F.3d 324, 330 (7th Cir. 2012) (“Prosecutors are entitled
to absolute immunity when they are performing functions—such as
determining whether charges should be brought and initiating a
prosecution—‘intimately associated with the judicial phase of the
criminal process.’” (quoting Buckley v. Fitzsimmons, 509 U.S. 259,
270 (1993)). The “People of the State of Illinois” is not an actual
person, and, therefore, cannot be sued under §1983. To the extent
that plaintiff is challenging the sufficiency of the evidence that led
to his conviction, he must pursue those claims in a habeas
proceeding. See Preiser v. Rodriguez, 411 U.S. 475, 489 (1973)
(habeas corpus is the exclusive remedy for a state prisoner’s
challenge to a fact or duration of his confinement).

IT IS THEREFORE ORDERED:

     1.   The plaintiff’s complaint is dismissed for failure to state a
     claim pursuant to Fed. R. Civ. Proc. 12(b)(6) and 28 U.S.C.
     Section 1915A. This case is closed.
     2.    This dismissal shall count as one of the plaintiff’s three
     allotted strikes pursuant to 28 U.S.C. Section 1915(g). The
     clerk of the court is directed to record the plaintiff’s strike in
     the three-strike log.
     3.    The plaintiff must still pay the full docketing fee of $350
     even though his case has been dismissed. The agency having
     custody of the plaintiff shall continue to make monthly
     payments to the Clerk of Court, as directed in the Court's
     prior order.
     4.   If the plaintiff wishes to appeal this dismissal, he may file
     a notice of appeal with this court within 30 days of the entry of
     judgment. Fed. R. App. P. 4(a). A motion for leave to appeal in
     forma pauperis MUST set forth the issues the plaintiff plans to
     present on appeal. See Fed. R. App. P. 24(a)(1)©. If the
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plaintiff does choose to appeal, he will be liable for the $505
appellate filing fee irrespective of the outcome of the appeal.
         Entered this 5th day of September, 2017
                   /s/ Harold A. Baker
       ___________________________________________
                   HAROLD A. BAKER
           UNITED STATES DISTRICT JUDGE




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